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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 CHARLOTTE DEAN,

             Plaintiff,
                                                   No. 2:20-cv-02755-JMV-MF
 v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

              Defendant.


                            NOTICE OF MOTION FOR
              PRO HAC VICE ADMISSION OF RAYMOND C. SILVERMAN

       PLEASE TAKE NOTICE that on July 6, 2020 or as soon thereafter as counsel can be

heard, Plaintiff Charlotte Dean, by and through counsel, will move pursuant to Local Civil Rule

101.1 in the United States District Court for the District of New Jersey, before the Hon. John

Michael Vazquez, United States District Judge, at the United States District Courthouse, Martin

Luther King Federal Building & U.S. Courthouse, 50 Walnut St., Newark, NJ 07101, for the

issuance of an Order permitting Raymond C. Silverman to appear on behalf of the Plaintiff in this

action pro hac vice.

       PLEASE TAKE NOTICE that Plaintiff will rely on the accompanying Declarations of

Melanie H. Muhlstock, Esq. and Raymond C. Silverman, Esq. in support of the instant motion,

submitted herewith, along with a proposed form of Order.

       Dated: June 1, 2020                  Respectfully Submitted,

                                            PARKER WAICHMAN LLP

                                            /s/Melanie H. Muhlstock
                                            Melanie H. Muhlstock
                                            PARKER WAICHMAN LLP



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                                   6 Harbor Park Drive
                                   Port Washington, NY 11050
                                   (516) 466-6500
                                   (516) 466-6665 (fax)
                                   mmuhlstock@yourlawyer.com

                                   Attorneys for Plaintiff




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                                     CERTIFICATE OF SERVICE


       I certify that on this June 1, 2020, I electronically filed the foregoing document with the

Clerk of the Court and a copy of the foregoing was served upon all counsel of record by using

the CM/ECF system.

                                             /s/Melanie H. Muhlstock
                                             Melanie H. Muhlstock

                                             Attorney for Plaintiff




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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 CHARLOTTE DEAN,

              Plaintiff,

 v.                                                No. 2:20-cv-02755-JMV-MF

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

              Defendant.


  DECLARATION OF MELANIE H. MUHLSTOCK IN SUPPORT OF PLAINTIFF’SS
    MOTION FOR ADMISSION OF RAYMOND C. SILVERMAN PRO HAC VICE

       Melanie H. Muhlstock, being of full age, hereby declares as follows:

       1.       I am a partner at the law firm of Parker Waichman LLP and an attorney of record

for Plaintiff in the above-captioned matter. The following declaration is based on my personal

knowledge and review of my files. I submit this declaration in support of Plaintiff’s Motion for

Admission of Raymond C. Silverman pro hac vice.

       2.      I am a member in good standing of the bar of the State of New Jersey, as well as

the bar of this Court, the United States District Court for the District of New Jersey.

       3.      Plaintiff has requested that Raymond C. Silverman, a partner at Parker Waichman

LLP, participate as counsel in this matter on her behalf.

       4.      Submitted with this application is the Certification of Raymond C. Silverman,

demonstrating his full compliance with the requirements for admission pro hac vice to this Court.

       5.      I have read the Certification of Raymond C. Silverman, demonstrating his full

compliance with the requirements for pro hac vice admission to this Court.
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       6.      If the Court grants this application for pro hac vice admission, either the

undersigned or another attorney associated with Parker Waichman LLP licensed to practice in New

Jersey and before this Court will continue to serve as counsel of record in this matter, will review

and sign all pleadings, briefs, and other papers filed with the Court, will be responsible for the

conduct of this action and for the conduct of the attorney admitted pro hac vice, and will otherwise

comply with all of the terms and conditions of L. Civ. R. 101.1(c).

       7.      Pursuant to the Rules of this Court, it is respectfully requested that the Court grant

this application for Raymond C. Silverman to be admitted pro hac vice to serve as counsel on

behalf of Plaintiff Charlotte Dean.

       I declare under penalty of perjury that the foregoing is true and correct.

       Dated: June 1, 2020

                                                      /s/ Melanie H. Muhlstock
                                                      Melanie H. Muhlstock
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 CHARLOTTE DEAN,

              Plaintiff,

 v.                                                 No. 2:20-cv-02755-JMV-MF

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

              Defendant.


                   DECLARATION OF RAYMOND C. SILVERMAN
              IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       Raymond C. Silverman, being of full age, hereby declares as follows:

       1.       I am a partner in the law firm of Parker Waichman LLP, 6 Harbor Park Drive, Port

Washington, New York 11050, Telephone: (516) 466-6500, Facsimile: (516) 466-6665, Email:

rsilverman@yourlawyer.com.

       2.      I make this Declaration in support of the instant Motion of Melanie H. Muhlstock

seeking my admission to the bar of this Court pro hac vice to represent Plaintiff Charlotte Dean.

I am personally familiar with the facts hereinafter set forth.

       3.      I am duly-authorized to practice law and am a member in good standing of the bar

of the State of New York (Bar No. 3033743, Admitted: 2000), as well as the U.S. District Court

for the Southern District of New York (2005); United States District Court for the Eastern District

of New York (2005); United States District Court for the Northern District of New York (2005);

and United States District Court for the Western District of New York (2007).
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        4.      There are presently no disciplinary proceedings pending against me in any of the

above listed courts. I am not under suspension or disbarment in any Court.

        5.      I have not been denied admission to, been disciplined by, resigned from,

surrendered my license to practice before, or withdrawn an application for admission to practice

while facing a disciplinary complaint before this Court or any other Court.

        6.      Plaintiff has requested that I represent her, and pro hac vice admission will allow

me to participate as counsel in this matter on her behalf.

        7.      Melanie H. Muhlstock is authorized to practice in New Jersey and is a member in

good standing of the bar of this Court.

        8.      I will comply with the requirements of the rules of this Court, including the

requirements of L. Civ. R. 101.1(c)(3), which requires payment be made to the New Jersey

Lawyers’ Fund for Client Protection; L. Civ. R. 101.1(c)(4), which provides that only an attorney

of the bar of this Court may file papers, enter appearances for parties, sign stipulations, or sign and

receive payments on judgements, decrees on orders; L. Civ. R. 103.1, the provision regarding

Judicial Ethics and Professional Responsibility; and L. Civ. R. 104.1, the provision regarding

Discipline of Attorneys.

        9.      I understand that, upon my admission pro hac vice, I will be within the disciplinary

jurisdiction of this Court. I consent to the appointment of the Clerk of the Court as the agent upon

whom service of process may be made for all actions against counsel that arise from my

participation in this matter.

        10.     I agree to notify the Court immediately of any matter affecting my standing at the

bar of any other Court
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       11.     For the foregoing reasons, it is respectfully requested that the Court grant my

application to appear pro hac vice in this matter.

       I declare under penalty of perjury that the foregoing is true and correct.

       Dated: June 1, 2020

                                                     /s/ Raymond C. Silverman
                                                     Raymond C. Silverman
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 CHARLOTTE DEAN,

              Plaintiff,

 v.                                                  No. 2:20-cv-02755-JMV-MF

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

              Defendant.


      ORDER FOR ADMISSION OF RAYMOND C. SILVERMAN PRO HAC VICE

       THIS MATTER having come before the Court on the application of Plaintiff Charlotte

Dean, by and through her attorney Melanie H. Muhlstock at Parker Waichman LLP, for the pro

hac vice admission of Raymond C. Silverman (“Counsel”) pursuant to Local Civil Rule 101.1(c),

with consent of defendants’ counsel; and the Court having considered the declarations in support

of the application, which reflect that Counsel satisfies the requirements set forth in Local Civil

Rule 101.1(c)(1) of the United States District Court for the District of New Jersey;

       IT IS ON THIS _____ day of                       2020,

       ORDERED that the application for the pro hac vice admission of Counsel is granted;

       IT IS FURTHER ORDERED that Counsel shall abide by all rules of this Court, including

all disciplinary rules, and shall notify the Court immediately of any matter affecting Counsel’s

standing at the bar of any court;

       IT IS FURTHER ORDERED that Counsel is deemed to consent to the appointment of

the Clerk of the Court as the agent upon whom service of process may be made for all actions

against Counsel that may arise from Counsel’s participation in this matter;




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       IT IS FURTHER ORDERED that Melanie H. Muhlstock at Parker Waichman LLP, shall

(a) be attorney of record in this case in accordance with L. Civ. R. 101.1(c); (b) be served all papers

in this action and such service shall be deemed sufficient upon Counsel; (c) sign (or arrange for a

member of the firm admitted to practice in New Jersey to sign) all pleadings, brief, and other

papers submitted to this court; and (d) be responsible for the conduct of the case and Counsel in

this matter; and

       IT IS FURTHER ORDERED that Counsel, individually, shall make payments to the

New Jersey Lawyer’s Fund for Client Protection, pursuant to N.J. Court Rule 1:28-2(s) and

pursuant to Local Rule 101.1(c)(2), for each year in which Counsel represents the client in this

matter, and that Counsel shall pay the sum of $150.00 to the Clerk of the United States District

Court in accordance with Local Civil Rule 101.1(c)(3).




                                       __________________________________
                                        UNITED STATES DISTRICT JUDGE




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